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UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION
MERCEDES BENZ USA LLC, 2:19-CV-10949-AC-EAS
Plaintiff, Honorable Avern Cohn

District Court Judge

Vv.
Honorable Elizabeth A. Stafford

JEFF SOTO AND MAXX GRAMAJO, Magistrate Judge

 

Defendants. DEFENDANTS’
MOTION TO DISMISS
UNDER FRCP 12(b)(1) and (6)

 

 

 

“LOCAL RULE CERTIFICATION: I, Norman Lippitt, certify that this
document complies with Local Rule 5. l(a), including: double-spaced (except
for quoted materials and footnotes); at least one inch margins on the top, sides,
and bottom; consecutive page numbering; and type size of all text and footnotes
that is no smaller than 10-1/2 characters per inch (for non-proportional fonts) or
14 point (for proportional fonts). I also certify that it is the appropriate length.
Local Rule 7. 1(d)(3).”

 

PLEASE TAKE NOTICE that, by their attorneys listed below, Defendants
Jeff Soto and Maxx Gramajo move this Court for an Order pursuant to Federal
Rules of Civil Procedure 12(b)(2) and 12(b)(6) dismissing the declaratory
judgment complaint filed by Plaintiff Mercedes Benz USA, LLC, a Delaware
limited liability company (““MBZ”), for lack of personal jurisdiction and failure to
state a claim upon which relief may be granted (the ““Motion”). This Motion is

based on (i) the supporting memorandum of law, (11) the declaration of Jeff Soto
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(“Soto”), (iii) the declaration of Maxx Gramajo (“Maxx242”), (iv) the declaration

of Jeffrey Gluck, and (v) oral argument in support of this Motion.

As required by E.D. Mich. Local Rule 7.1(a), counsel for Soto and Maxx242
(Soto and Maxx242 collectively referred to as the “Artists”) sought concurrence
from MBZ’s counsel, holding a teleconference with counsel and presenting the
nature of this Motion and its legal basis. The Artists’ counsel requested, but did not

obtain, concurrence in the relief sought, i.e. dismissal of the Complaint.

Respectfully submitted,

DATED: April 24, 2019
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BRIEF IN SUPPORT OF MOTION
CONCISE STATEMENT OF ISSUES PRESENTED

The Motion presents four issues:

1. Should the Court dismiss the Complaint brought by MBZ, a Delaware
limited liability company based in Georgia, for lack of personal jurisdiction
pursuant to FRCP 12(b)(2) because the Defendants, California residents, have
virtually no contacts with Michigan other than travelling there once as invited
guests to participate in an art festival?

VR Has MBZ stated claims for a declaratory judgment of non-
infringement of copyright where the work in question has not been registered with
the United States Copyright Office, a prerequisite for copyright litigation?

3. Has MBZ stated a claim for a declaratory judgment of non-
infringement based on the Architectural Works Copyright Protection Act
(“AWCPA”), where MBZ has not alleged any of the following elements: that the
work in question (a) is original, (b) is more than a functional combination of
“standard features,” (c) is a structure that humans occupy, (d) was built after 1990,
or (e) is a protected “architectural work’?

4. Does Section 120(a) of the AWCPA immunize infringement of a
pictorial, graphical, or sculptural (“PGS”) work that appears on an architectural

work?

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CONTROLLING AND MOST APPROPRIATE AUTHORITIES

Lack of Personal Jurisdiction:

Fed. R. Civ. P. 12(b)(2)

e Eggleston v. Daniels, No. 15-11893, 2016 WL 4363013 (E.D. Mich.
Aug. 16, 2016)

e Ford Motor Co. v. Autel US Inc., No. 14-13760, 2015 WL 5729067 (E.D.
Mich. Sept. 30, 2015)

e Harris v. Lloyds TSB Bank, PLC, 281 F. App’x 489 (6th Cir. 2008)

e Innovation Ventures, LLC v. N2G Distrib., Inc., 635 F. Supp. 2d 632
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e Others First, Inc. v. Better Bus. Bureau of E. Mo. and S. Ill. No. 14-CV-
12066, 2014 WL 6455662 (E.D. Mich. Nov. 17, 2014)

e SFS Check, LLC v. First Bank of Del., 990 F. Supp. 2d 762 (E.D. Mich.

2013)

Failure to State a Claim:

FRCP 12(b)(6)

Gaylord v. USPS, 595 F.3d 1364 (Fed. Cir. 2010)

Leicester v. Warner Bros., 232 F.3d 1212 (9th Cir. 2000)

Polaroid Corp. v. Berkey Photo, Inc., 425 F. Supp. 605 (D. Del. 1976)

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e TreadmillDoctor.com, Inc. v. Johnson, No. 08-2877, 2011 U.S. Dist.
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17 U.S.C. §120(a)

28 U.S.C. §2201

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I. INTRODUCTION

As part of an annual art festival in downtown Detroit, the Artists were
invited to paint a large-scale outdoor mural (the “Mural’’). After MBZ inexplicably
used the Mural as advertising—without permission or compensation—the Artists
hired a lawyer to protest. MBZ responded by filing this lawsuit against the Artists.

The sole purpose of MBZ’s action is to bully and intimidate the Artists—
along with other street artists simultaneously sued by MBZ'— to send the message
that assertions of infringement against the luxury automaker will be met with
ferocious and financially ruinous litigation. MBZ’s hope is that the Artists will be
thankful for a walkaway settlement where they receive no compensation but are
spared the burden and expense of defending this action.” MBZ further hopes that
other street artists will be deterred from asserting their rights—allowing it to
continue to heavily rely on street art in its advertising without having to pay artists.

Even worse than bullying individual street artists, MBZ advances arguments

that (if accepted) would remove copyright protection for virtually all street art.

 

' Concurrently with the filing of this Complaint, MBZ sued two other artists who
had complained that MBZ infringed their work, asserting identical declaratory
judgment claims and seeking the same relief—the Court’s imprimatur on MBZ’s
appropriation of the Artists’ works for MBZ’s advertising and commercial use. All
three cases have been assigned to this Court. The artist defendants bring motions to
dismiss all three cases.

 

* MBZ increases the intimidation by seeking attorneys’ fees under 17 U.S.C. § 505.
[Complaint, Prayer for Relief, ECF No. 1, at 17.]
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Specifically, MBZ argues that under the 1990 Architectural Works Copyright
Protection Act (“‘AWCPA”), any art appearing on the side of a “building” (..e. all
street art) may be freely appropriated and used for any purpose. This argument—as
ludicrous as it is—would not only carry the day for MBZ in the three currently
pending cases, but also in any future controversy involving MBZ’s use of street art.

The sheer baselessness of MBZ’s lawsuit shows that it was brought in bad
faith for reasons other than obtaining a hearing on the merits. MBZ’s lawyers must
know that their entire lawsuit will be dismissed as a result of two insurmountable
procedural defects: (a) the Artists, who live and work in Los Angeles, are not
subject to personal jurisdiction in Michigan, where they have never set foot other
than to paint the Mural, and (b) the Artists have yet to register a copyright in the
Mural, which is a pre-requisite of copyright litigation.

In addition to these procedural grounds requiring dismissal, MBZ’s AWCPA
claim is based on a fundamental misunderstanding of the statute. In 1990, in order
to allow the U.S. to become a signatory to the Berne Convention, Congress passed
the AWCPA, applying copyright protection to “architectural works” for the first
time. The legislation only expanded copyright protection. But not wanting to turn
every tourist at Fisher Building into an infringer, legislators wisely limited this
expansion of copyright protection by specifically allowing photography of

architectural works (which Congress determined was consistent with Berne). In
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other words, the legislation was not motivated by a desire to protect outdoor
photography. Rather, it was legislation designed to protect architectural works to
the extent required to comply with Berne. As established in Section IV(C) below,
the AWCPA cannot be construed to allow appropriation of two dimensional
artwork—such as street art—appearing on a building.

MBZ’s claim for a judicial declaration of non-lability under the AWCPA
also fails because MBZ did not make a serious effort to plead the requisite
elements—again casting doubt on whether such claim was brought in good faith.
The AWCPA applies to structures that are (a) original, (b) more than a functional
combination of “standard features,” (c) “occupied” by humans, and (d) built after
1990. MBZ pleads none of these elements, and alleges little more than that the
Mural appears on a “building.”

Il. BACKGROUND

MBZ’s complaint is straightforward. The company alleges that it used the
Artists’ work without permission, and that the Artists have threatened to bring an
infringement action. MBZ then seeks five separate judicial declarations of non-
liability. MBZ’s second claim for a declaration of non-infringement under the
doctrine of fair use, and its third claim for a declaration of non-infringement under
the terms of 17 U.S.C. Section 120(a) of the AWCPA (which allows photography

of architectural works) include some degree of substance. Those claims seek legal
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findings that MBZ’s infringement was justified or allowed by law. MBZ’s other
three claims are simply naked assertions of non-liability.’

By this motion, Artists ask the court to dismiss all claims on the grounds of
lack of personal jurisdiction, and lack of ripeness; and to dismiss the AWCPA
claim due to missing allegations and a fundamental misunderstanding of the
statute.

A. MBZ acknowledges that it used the artwork without permission—but
asserts that street art is not protected by copyright.

MBZ admits that it used the Artists’ Mural without authorization. More
specifically, MBZ affirmatively alleges that it took photographs of the Mural and
then used those photographs for an advertising campaign introducing a new

vehicle. /d., 991, 4,5."

 

> In addition to the fair use and AWCPA exemption arguments, in its first, fourth
and fifth claims MBZ seeks the Court’s broad declaratory judgments that: MBZ’s
advertisements depicting the Artists’ Mural did not infringe the Artists’ copyright
[Complaint, § 55]; MBZ did not violate the prohibition under the Digital
Millennium Copyright Act against falsifying or intentionally removing or altering
copyright management information [/d. § 71] and MBZ did not violate “any of [the
Artists’] alleged rights.” [/d., § 74.] All five of MBZ’s declaratory judgment claims
seek essentially the same thing: absolution from liability for MBZ’s unauthorized
commercial exploitation of the Artists’ Mural.

* MBZ acknowledges only limited use of the Artists’ Mural, stating that it used the
Mural “in one of [MBZ’s] Instagram posts about its G 500 Series truck.” Id. MBZ
vastly understates its infringement. The Artists have discovered that MBZ widely
published and distributed (and continues to publish) infringing photos well beyond
the single Instagram post MBZ identifies. [Gluck Decl., 7 2, Exh. A.]
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MBZ acknowledges that the Artists created the Mural, and that MBZ did not
have the Artists’ permission or consent to use the Mural in MBZ’s advertising.
(Complaint, J§ 4, 5, 11.] MBZ does not say why it failed to seek the Artists’
approval or to acknowledge the Artists’ intellectual property rights in MBZ’s
displays and publications of the Mural. MBZ appears to claim that any
authorization from the Artists was unnecessary as “MBZ did not infringe [the
Artists’] alleged copyright.” [d., ¥ 8.]

MBZ unabashedly asserts its intent in bringing the Declaratory Judgment
Complaint as “seeking to validate” MBZ’s appropriation of the Artists’ artwork.
[Complaint, J 1.] Towards that end, MBZ alleges that it seeks to “resolve” the
Artists’ infringement claims and “obtain declaratory judgments that, inter alia, the
photograph and January 2018 advertisement depicting [the Artists’] mural
constituted a fair use, and that [the Artists’] mural is exempt from protection under
the Architectural Works Copyright Protection Act. [/d., J 9.]

B. MBZ alleges no special relation to this District.

After discovering MBZ’s infringement of their Mural, the Artists’ attorney
contacted MBZ. As MBZ alleges: “...Defendants Jeff Soto and Maxx Gramajo,
California street artists, threatened to file a copyright infringement lawsuit against
MBUSA based on MBUSA’s depiction of [the Artists] mural ....”” [Complaint, §

6.] Although MBZ does not allege where or how this contact occurred, the
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communications derived from the Artists’ California-based attorney to MBZ’s
representatives in New York. [Declaration of Jeffrey Gluck (“Gluck Decl.”), { 4.]
None of the contact from the Artists to MBZ occurred in Michigan or was directed
to anyone in Michigan. Jd. All such communications originated in California and
were directed to MBZ, a non-Michigan resident. Jd. MBZ is a Delaware
corporation, headquartered in Atlanta, Georgia.

C. The Artists have not registered a copyright in the Mural.

MBZ makes no allegations relating to copyright registration in the Mural. In
fact, the Mural is not yet registered. [Soto Decl., ] 3; Maxx242 Decl., J 3.7]

Il. THE COURT LACKS PERSONAL JURISDICTION OVER THE
ARTISTS

A. Legal standard for a FRCP 12(b)(2) analysis.

When challenged, “the plaintiff has the burden of proving the court’s
jurisdiction over the defendant.” Serras v. First Tenn. Bank Nat’l Ass’n, 875 F.2d
1212, 1214 (6th Cir. 1989).” Ford Motor Co. v. Autel US Inc., No. 14-13760, 2015
WL 5729067, at *3 (E.D. Mich. Sept. 30, 2015) (“Ford Motor Co.”). If a motion

for dismissal is properly supported, “the plaintiff may not stand on his pleadings

 

> MBZ failed to file the required AO 121 form identifying the copyright at issue in
its Complaint. See, Court Docket, ECF entry: “NOTICE of Error directed to:
Edward J. DeFranco. Form AO 121 is missing. The filing attorney must file the
form found on www.uscourts.gov with the Court to correct the error. . . .<SSch)
(Entered: 04/02/2019).” As of the date of this Motion, MBZ has not filed the AO
121 form.
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but must, by affidavit or otherwise, set forth specific facts showing that the court
has jurisdiction.” SFS Check, LLC v. First Bank of Del., 990 F. Supp. 2d 762, 769
(E.D. Mich. 2013) (“SFS Check, LLC’’) (citation omitted).

B. MBZ cannot establish general jurisdiction over the non-resident Artists.

Under Michigan law, a court’s exercise of jurisdiction can consist of either
general jurisdiction. Ford Motor Co., 2015 WL 5729067, at *10. “General
jurisdiction exists independently from the facts of the action and may be found
where the defendant is present in the state at the time process 1s served, consents to
the state’s jurisdiction, or is domiciled in the state.” SFiS Check, LLC, 990 F. Supp.
2d at 770-771 (citing MCL § 600.701). None of these factors exist in this case. The
Artists are domiciled in California and accepted service, in California, through
their California-based counsel. [Soto Decl., at § 7; Maxx242 Decl. at J 7.] The
Artists have not consented to jurisdiction in Michigan. [Soto Decl., at ] 6;
Maxx242 Decl. at J 6.] Accordingly, the Court lacks general personal jurisdiction
over the Artists.

C. The Court Lacks Specific Jurisdiction over the California-based Artists.

Different than general “all-purpose” jurisdiction, specific personal
jurisdiction “is confined to adjudication of ‘issues deriving from, or connected
with, the very controversy that establishes jurisdiction.”” Goodyear Dunlop Tires

Operations, S.A. v. Brown, 564 U.S. 915, 920 (2011) (citation omitted). While
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Michigan’s long-arm statute gives the “maximum scope” of jurisdiction permitted
by the due process clause, “defendant’s conduct [] must form the necessary
connection with the forum State that is the basis for its jurisdiction over him.”
Eggleston v. Daniels, No. 15-11893, 2016 WL 4363013, at *11 (E.D. Mich. Aug.
16, 2016) (citing Walden v. Fiore, 134 S. Ct. 1115, 1122 (2014)).

To establish personal jurisdiction over the Artists, MBZ must demonstrate
that (1) the Artists “purposefully availed” themselves of the privilege of acting in
the forum state; (2) the cause of action arose from the Artist’s activities there; and
(3) the Artists’ acts must have a substantial enough connection with the forum state
to make the exercise of jurisdiction over them reasonable.” Southern Mach. Co. v.
Mohasco Indus., Inc., 401 F.2d 374, 381 (6th Cir. 1968) (‘Southern Machine”). All
three factors must be present. Eggleston v. Daniels, at *11. Here, MBZ cannot
establish any of the necessary factors.

1. The Artists have not purposefully availed themselves of the
privilege of acting in Michigan.

6ce

Purposeful availment is “‘the sine qua non for in personam Jjurisdiction.’”
CompuServe, Inc. v. Patterson, 89 F.3d 1257, 1263 (6th Cir. 1996) (citation
omitted); Interna Corp. v. Henderson, 428 F.3d 605, 616 (6th Cir. 2005) (“Interna
Corp.”) (“This Court views the purposeful availment prong of the Southern

Machine test as ‘essential’ to a finding of personal jurisdiction.”) (citation

omitted). As this Court has explained, “[p]urposeful availment, the constitutional
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touchstone of personal jurisdiction, is present where the defendant’s contacts with
the forum state proximately result from actions by the defendant himself that create
a substantial connection with the forum State.” Innovation Ventures, LLC v.
Custom Nutrition Labs., LLC, 946 F. Supp. 2d 714, 720 (E.D. Mich. 2013)
(citation and internal quotation marks omitted). In other words, “[t]he defendant’s
conduct must be such that he should reasonably anticipate being haled into court.”
Id. (citing World-Wide Volkswagen Corp. v. Woodson, 444 U.S. 286 (1980)).
“Random,” “fortuitous,” or “attenuated” contacts are not enough to “cause a
defendant to be haled into a jurisdiction.” CompuServe, Inc., 89 F.3d at 1263.

MBZ acknowledges that the Artists are California residents. [Complaint, {{]
6, 12, 13.] MBZ bases personal jurisdiction on the sole allegation that, “events
giving rise to the claims occurred in Michigan.” [Complaint, at § 15.] The “events”
MBZ refers to are MBZ’s infringement of the Artists’ Mural and the Artists’
demands—through their California attorney, to Mercedes’s New York attorneys—
that MBZ cease and desist its infringing activities. [Complaint at J 6, 7, 17, 26.]
The Artists’ only connection to the forum state—a single visit to Michigan in

2015—does not rise to the level of “purposeful availment.” ;

 

° Mercedes also alleges ‘on information and belief” that the Artists “regularly do
or solicit business in this District.” [Complaint at J 16.] Mercedes provides no facts
to support this bare allegation. There are none. The Artists have no connection to
Michigan other than a single brief visit, and they have not previously or since
traveled to the forum state. [Soto Decl., at § 2; Maxx242 Decl., at § 2.]
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The Artists’ absence of purposeful minimum contacts with Michigan
preclude their being haled into court here. The Artists’ only contact with Michigan
was a four day visit to participate in the “Murals in the Market” art festival. [Soto
Decl., § 2; Maxx242 Decl., § 2.] The Artists had no contact with MBZ during their
trip to Michigan. [Soto Decl., § 4; Maxx242 Decl.,  4.] Certainly, the Artists could
not have anticipated being haled into a Michigan court by a luxury car company
claiming the right to appropriate the Artists’ Mural for its own commercial use.

2. MBZ’s Declaratory Judgment claims do not arise out of the
Artists’ Michigan contacts.

Because MBZ fails to satisfy the purposeful availment prong of the personal
jurisdiction challenge, the Court need not even consider the final two prongs
necessary to establish personal jurisdiction over the California Artists. See, Inc. v.
Imago Eyewear Pty, Ltd., 167 F. App’x 518, 523 (6th Cir. 2006). Nevertheless, the
remaining elements also support dismissal for lack of personal jurisdiction.

Assuming arguendo the California-based Artists had purposely availed
themselves of the privileges of acting in Michigan (and they have not), MBZ’s
non-infringement claims still fail as they do not “arise from” the Artists’ Michigan
contacts. “To satisfy the ‘arising from’ prong of the Southern Machine test, the
plaintiff must demonstrate a causal nexus between the defendant’s contacts with
the forum state and the plaintiffs alleged cause of action.” Beydoun v. Wataniya

Rests. Holding, O.S.C., 768 F.3d 499, 506-507 (6th Cir. 2014) (“Beydoun”) (citing

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Burger King Corp., 471 U.S. at 474).

In Others First, Inc. v. Better Business Bureau of Eastern Missouri and
Southern Illinois (“Others First’), the plaintiff sued the defendant corporation
alleging tortious interference and defamation arising out of the alleged publication
of a defamatory article about plaintiff on defendant’s website. Others First, No.
14-CV-12066, 2014 WL 6455662 (E.D. Mich. Nov. 17, 2014). The plaintiff
alleged that, prior to the publication of the article, defendant’s employees contacted
Michigan residents to obtain information about the plaintiff. /d. at *2. The district
court explained that the plaintiff's causes of action were not proximately caused by
the defendant’s contacts with the forum state because they “do not arise out of any
contact the BBB had with the state of Michigan, and, therefore, do not ‘arise from’
the BBB’s contact with the state of Michigan.” Jd. at *9.

Like Others First, MBZ’s claims here do not “arise from” any activity by
the Artists in Michigan. MBZ’s claims are even more attenuated than those in
Others First as the declaratory judgment rulings MBZ seeks have nothing to do
with the Artists’ creation of the Mural in 2015. Rather, MBZ seeks declaratory
judgment of non-infringement on the basis that the Artists’ attorney contacted
MBZ in 2019 via email and telephone calls to MBZ’s representatives located in
New York to demand that MBZ stop infringing the Artists’ work through social

media and other publication of MBZ’s advertisements misappropriating the

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Artists’ Mural. [Complaint, JJ 6, 7; Gluck Decl., § 4.] While the subject of MBZ’s
infringement is artwork painted in Michigan, the complained of activity—MBZ’s
misuse of the Artists’ work and the Artists’ demands that MBZ cease its infringing
activity—did not occur in Michigan and had no connection to the Artists’ brief trip
to Michigan four years ago to participate in the Murals in the Market festival. As
such, MBZ’s alleged declaratory judgment Complaint, like the plaintiffs claims in
Others First, does not “arise from” the Artists’ one-off contact with Michigan
years ago. Therefore, the exercise of jurisdiction over the Artists in Michigan
would violate the due process clause.

3. The exercise of jurisdiction over the Artists in Michigan would be
unreasonable.

Even if the facts were different and MBZ could meet its burden on the first
two elements, the Court’s exercise of personal jurisdiction over the Artists is
unreasonable. “The third prong of the Southern Machine test mandates that ‘the
acts of the defendant or consequences caused by the defendant must have a
substantial enough connection with the forum state to make the exercise of
jurisdiction over the defendant reasonable.’” Jntera Corp., 428 F.3d at 618 (citing
Youn v. Track, Inc., 324 F.3d 409, 419 (6th Cir. 2003)). Courts consider three
factors in determining whether the exercise of jurisdiction is reasonable: (1) the
burden on the defendant; (2) the forum state’s interest; and (3) the plaintiff's

interest in obtaining relief. Beydoun, 768 F.3d at 508 (citation omitted).

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Here, the Artists would be burdened by having to travel to Michigan to
participate in this case. [Soto Decl. at § 8; Maxx242 Decl. at {| 8.] Although courts
have deemed specific jurisdiction to be proper when a defendant would be
compelled to travel, courts recognize the burden to the defendant in having to
travel to the forum state when assessing the reasonableness of personal jurisdiction
over the defendant. Jntera Corp., 428 F.3d at 618; MLS Nat’l Medical Evaluation
Servs., Inc. v. Templin, 812 F. Supp. 2d 788, 804 (E.D. Mich. 2011. Moreover,
there is no identifiable interest specific to this forum at issue here. MBZ has no
connection to Michigan; it is a Delaware limited liability company with its
headquarters in Atlanta, Georgia. Complaint at § 10.’ California, in contrast, has a
significant interest in safeguarding the Artists’ rights, as residents of the state.

IV. MBZ’S COMPLAINT FAILS TO STATE FACTS SUFFICIENT TO
SUPPORT A DECLARATORY JUDGMENT CLAIM

Under FRCP 12(b)(6), a complaint must articulate “enough facts to state a
claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550 U.S.
544, 570 (2007) (“Twombly”). Although a pleading need not contain “detailed
factual allegations,” it must contain “more than labels and conclusions” or “a

formulaic recitation of the elements of a cause of action.” Jd. at 555.

 

’ Although MBZ neglects to identify its corporate domicile in its Complaint,
MBZ’s headquarters is based in Atlanta, Georgia. [Gluck Decl., 45, Exh. C.]

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A.  MBZ fails to set out a justiciable claim for non-infringement because
the Artists’? Mural has not yet been registered.

To establish a viable declaratory judgment claim, a plaintiff must set out a
fully-realized dispute that the court can adjudicate. A declaratory judgment must
completely resolve “a concrete controversy.” Calderon v. Ashmus, 523 U.S. 740,
749, 118 S.Ct. 1694, 1699 (1998).

To survive a motion to dismiss for failure to state a claim, a declaratory
judgment plaintiff must show not just that a dispute exists between the parties, but
that a dispute exists that the Court can adjudicate, 1.e. a “justiciable controversy.”
The declaratory judgment plaintiff must meet all the elements of the underlying
claim and show that the threat of litigation is imminent: The question is whether
the “facts alleged, under all the circumstances, show that there is a substantial
controversy, between parties having adverse legal interests, of sufficient
immediacy and reality to warrant the issuance of a declaratory judgment.”
Polaroid Corp. v. Berkey Photo, Inc., 425 F. Supp. 605, 607 (D. Del. 1976).

As the Supreme Court recently affirmed, copyright registration is a
prerequisite to pursuing an infringement claim. Fourth Estate Pub. Ben. Corp. v.
Wall-Street.com, LLC, 139 S. Ct. 881 (2019). Ifa copyright owner has not
registered their copyright, they may not pursue litigation to assert their claimed
rights. Jd., 203 L. Ed. 2 147, 153-14. MBZ fails to show an “imminent threat” of

civil liability as the Artists have not registered their copyright in the Mural and

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thus are precluded from pursuing a copyright infringement claim against MBZ.
Under such circumstance, the Complaint must be dismissed for failure to state a
claim. TreadmillDoctor.com, Inc. v. Johnson, No. 08-2877, 2011 U.S. Dist. LEXIS
34652, at *12-14 (W.D. Tenn. Mar. 31, 2011) (‘Although the district court has
jurisdiction [to hear a case involving an unregistered copyright], the action is
subject to dismissal when a defendant moves to dismiss the action for failure to
state a claim.”); see, also, Specific Software Sols., LLC v. Inst. of WorkComp
Advisors, LLC, 615 F. Supp. 2d 708, 716 (M.D. Tenn. 2009),

Because there is no immediate threat of litigation, MBZ is unable to state a
justiciable controversy. “In order to satisfy the ‘case or controversy’ requirement
..., ‘a party seeking declaratory relief must allege facts to support a likelihood’ that
it will incur [the alleged liability].”” GenCorp, Inc. v. Olin Corp., 390 F.3d 433, 451
(6th Cir. 2004). Where, as here, the deficiency of a declaratory judgment complaint
renders the parties’ dispute purely hypothetical, the failure to state a claim is a
defect that renders the lawsuit unsustainable.

B. MBZ fails to state a claim for a declaratory judgment of non-liability
based on the “architectural photography exception.”

As a “Third Cause of Action” in its Complaint, MBZ seeks the Court’s
declaratory judgment that the Artists’ Mural is “exempt from protection under the
Architectural Works Copyright Protection Act (““AWCPA”), based upon 17 U.S.C.

§ 120(a).” [Complaint, J 63.] Section 120(a) is a 1990 statute, added to the

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Copyright Act as part of the AWCPA, that permits photography and other pictorial
representations of works protected by architectural copyrights. MBZ’s claim that
Section 120 represents a complete defense to Plaintiff's hypothetical copyright
infringement claim—because MBZ’s photograph depicts part of a building—fails
for two principal reasons:

e MBZ fails to allege, other than in nakedly conclusory fashion, that Plaintiffs’
Mural is part of a protected “architectural work”—1.e. the design of a building.
Section 120(a) does not apply to all structures. To qualify, the work must
include some degree of originality, must have been built after 1990, and must
be something more than a functional combination of “standard features.”
Further, as the Federal Circuit found in 2010, structures that humans “‘access”
but do not “occupy” are excluded from copyright protections. MBZ’s claim
fails because it does not identify an architectural work or make any allegation
whatsoever about the nature of the purported work other than the conclusory
allegation that the Mural is on a “building.”

e Section 120(a) does not immunize infringement of a pictorial, graphical, or
sculptural (“PGS”) work just because it happens to appear on an architectural
work. Even if the building were an architectural work, MBZ’s Section 120(a)
defense would fail because it relies on a fundamental misunderstanding of the
AWCPA. As explained below, no court has ever applied Section 120(a) to
somehow immunize infringement of a PGS work simply because it appears in
the same photograph as an architectural work.’ Further, the legislative history of
the AWCPA compels rejection of MBZ’s interpretation.

 

* It’s easy to see why MBZ wants to allow free commercial use of street art. MBZ
is a prolific user of street art and outdoor murals in its advertising. For example, on
the same day MBZ filed this lawsuit, it posted a four-minute video “brochure” for
the MBZ 2019 G-Class featuring a mural by French street artist Astro. [See Gluck
Decl., § 3, Exh. B.] It’s unclear what criteria MBZ uses to determine when to
compensate an artist for their work, as opposed to just appropriating the work
without compensation. MBZ is clearly hoping this Court will provide an answer
that allows MBZ to argue that all street art is free for MBZ’s commercialization.

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1. MBZ fails to allege the existence of an architectural work.

MBZ2Z’s Section 120(a) claim relies, of course, on the premise that the
structure on which the Mural appears is a protected architectural work. But
inexplicably, MBZ fails to allege any facts in support of this crucial element.

a. Like all works protected by copyright, an “architectural
work” requires some measure of creativity.

Copyright protection is limited to “original” works. Feist Publ’ns, Inc. v.
Rural Tel. Serv. Co., 499 U.S. 340, 349-50 (‘Feist’). Indeed, the first principle of
copyright is that only “original” works are protected—and that “originality”
requires at least some small measure of creativity. /d., at 346, 349-50. This concept
is clearly expressed in the statute that enumerates the kinds works protected by
copyright, including architectural work. 17 U.S.C. 102(a) provides that “Copyright
protection subsists, in accordance with this title, in original works of authorship
fixed in any tangible medium of expression. ..”; and lists the eight categories of
protectable original works, including “architectural works.”
The Supreme Court has made very clear that all copyrightable works must
possess some measure of creativity:
The sine qua non of copyright is originality. To qualify for copyright
protection, a work must be original to the author. Original, as the term is
used in copyright, means only that the work was independently created by
the author (as opposed to copied from other works), and that it possesses at

least some minimal degree of creativity. Feist, 499 U.S. at 345-46
(emphasis added).

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b. The AWCPA’s definition of “architectural work” excludes
non-creative design and “standard features.”

As mentioned above, the definition of “architectural works” also explicitly
excludes any “standard features” in a building’s design, such as “windows, doors,
and other staple building components.” 37 C.F.R. § 202.11(d)(2). The legislative
intent behind this restriction was to avoid impeding the progress of architectural
innovation by limiting the scope of copyright protection to those elements of a
building’s design that reflect the architect’s creativity. [H.R. 107-735, at p. 18.]

The legislative history further explains that the AWCPA affords protection
only where the architectural work’s “design elements are not functionally
required”:

A two-step analysis is envisioned. First, an architectural work should be
examined to determine whether there are original design elements present,
including overall shape and interior architecture. If such design elements are
present, a second step is reached to examine whether the design elements are
functionally required. If the design elements are not functionally required,

the work is protectable without regard to physical or conceptual separability.
[H.R. Rep. No. 101-735, at pp. 20, 21.]

c. The definition of “architectural work” explicitly excludes
many utilitarian structures.

The post-1990 Copyright Act defines an architectural work as “the design of
a building as embodied in any tangible medium of expression, including a
building, architectural plans, or drawings.” 17 U.S.C. § 101. It includes “the

overall form as well as the arrangement and composition of spaces and elements in

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the design, but does not include individual standard features.” Jd.

The administrative regulations supplementing Section 101’s definition
further define “buildings” (for purposes of Section 120(a)) as “humanly habitable
structures that are intended to be both permanent and stationary, such as houses
and office buildings, and other permanent and stationary structures designed for
human occupancy, including but not limited to churches, museums, gazebos, and
garden pavilions.” 37 C.F.R. § 202.11(b)(2). The definition excludes “[s]tructures
other than buildings, such as bridges, cloverleafs, dams, walkways, tents,
recreational vehicles, mobile homes, and boats;” and “standard features, such as
windows, doors, and other staple building components.” Jd. § 202.11(d)(1).

The legislative history also sheds light on the outer limits of what can be
considered an architectural work. Congress tweaked the definition of “architectural
works” while considering the new law. In an early draft of the legislation, an
“architectural work” was defined as “the design of a building or other three-
dimensional structure, as embodied in that building or structure.” Congress had
intended the phrase “three-dimensional structure” to cover cases where
architectural works were embodied in innovative structures that defy easy
classification. [H.R. 101-735, at 19, 20.] The phrase was removed, however, out of
concern that it could be interpreted as covering structures that are almost purely

utilitarian. [/d., at 20.] The committee determined that copyright protection for

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such works is not necessary to stimulate creativity or prohibit unauthorized
reproduction, and nor was it required in order to comply with the Berne
Convention. [/d.]

d. The AWCPA applies only to buildings constructed after
1990.

Consistent with the legislative intent to provide only as much protection as
necessary to comply with Berne, the AWCPA does not protect architectural works
published prior to its enactment in December 1990. 37 CFR 202.11(d)(3)Q@)
(“Works excluded. The following structures, features, or works cannot be
registered: [{] The designs of buildings where the plans or drawings of the building
were published before December 1, 1990, or the buildings were constructed or
otherwise published before December 1, 1990.’’)

e. MBZ fails to identify a building or allege that the building is
an architectural work.

MBZ fails to allege any facts that bear on the elements described above. In
other words, MBZ does not allege that the building housing the Mural is an
architectural work. For example, MBZ fails to allege: (a) that the building was
constructed after 1990, (b) that the building is an original work, possessing some
measure of creativity; (c) that the building is not purely utilitarian, and more than a
mere collection of stock standard features, or (d) that the building is one that

humans occupy. The absence of these necessary allegations requires the dismissal

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of MBZ’s third cause of action.
De Even if the building were an architectural work, Section 120(a)

wouldn’t immunize infringement of a PGS work simply because it
appears thereon.

MBZ appears to believe that Section 120(a) allows anyone to distribute
copies of an otherwise copyrightable PGS work, so long as that work is on a
building. In this way, MBZ contends that the AWCPA significantly restricts
copyrights in non-architectural works. Indeed, if MBZ’s view prevailed, all street
art that exists on a building would suddenly be unprotected by copyright. As
explained below, both the plain statutory language and the legislative history
compel the rejection of this interpretation.

a. Background of the AWCPA, and its architectural
photography exception.

Prior to 1990, the Copyright Act afforded no protection to architectural
works. Leicester v. Warner Bros., 232 F.3d 1212, 1217 (9th Cir. 2000). Buildings
were considered “useful articles,” like apparel or furniture, which are not protected
by copyright. Jd. But lack of copyright protection for useful articles did not
interfere with protection for two-dimensional graphic artwork appearing on or in
them (such as graphic design on a tee shirt or a mural on a building), which have
always been straightforwardly protected. Indeed, artistic elements on or attached to
a useful article can be protected by copyright if they incorporate pictorial, graphic,

or sculptural features that ‘“‘can be identified separately from, and are capable of

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existing independently of, the utilitarian aspects of the article.” Star Athletica,
L.L.C. v. Varsity Brands, Inc., 137 S. Ct. 1002, 1008 (2017). Thus, to take a simple
and seminal example, even though a lamp is a useful article, a lamp base in the
form of a Balinese dancer is copyrightable because one can imagine it existing on
its own as a sculptural work. Mazer v. Stein, 347 U.S. 201 (1954). In the same way,
a painting on a building has always been copyrightable.

On March 1, 1989, the United States joined the Berne Convention for the
Protection of Literary and Artistic Works. The Berne Convention required
signatory countries to provide copyright protection for “three-dimensional works
relative to ... architecture.” 1 Nimmer on Copyright, § 2.20, at 2-213 (quoting
Berne Convention (Paris text), art. 2(1)). To comply with this treaty obligation,
Congress passed the AWCPA. See H.R. Rep. 101-735, at 4-10 (attached as Exhibit
E to the Gluck Decl.). The AWCPA added a new category of protected work—
architectural works—to the seven that already existed in 17 U.S.C. 102. The
definition of “architectural work” (explained in detail below) was added to 17
U.S.C. 101 and is supplemented in the Federal Register.

The legislative history of the AWCPA makes clear that its purpose was to do
just enough to comply with Berne. H.R. Rep. 101-735, p. 10 (“The implementing
legislation [of the Berne Convention] had one simple, but important objective: to

make only those changes in U.S. law required to place the United States in

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compliance with our treaty obligations.”)

Worried that full protection for architectural works (like that afforded to all
other categories, such as PGS works) would go too far, and finding that Berne did
not require such full protection, Congress enacted a significant limitation on the
copyright protection afforded architectural works by adding 17 U.S.C. 120 to the
Copyright Act. Section 120(a) provides that the holder of one of these new species
of copyrights is not entitled to prevent photography of the architectural work
(whereas the holders of all other copyrights may prohibit photos of their work). 17
U.S.C. § 120. The purpose of Section 120 was to take back a little of what the
AWCPA gave, new copyright protection for architecture. It did not otherwise
interfere with the scope of copyright protection of non-architectural works.

b. Section 120(a)’s exception limits only the copyrights in
architectural works, and not PGS works.

The statute does not suggest that the copyright in any other works, such as a
PGS work on or attached to a building, would be limited in any way. The new law
was clearly intended only to expand the scope of protectible works to include new
subject matter. There is no indication that anything previously protected by
copyright is not still protected. Davidson v. United States, 2017 U.S. Claims
LEXIS 841 (‘the addition of Section 120 was intended to extend copyright
protections, however, not truncate them.”); see also Jane C. Ginsberg, Commentary

on the Visual Artists Rights Act and the Architectural Works Copyright Protection

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Act of1990, 14 COLUM.- VLAJ.L. &ARTs 477,495 (1990) (“if'a building
contains elements separately protectable as pictorial, graphic or sculptural works
(for example, a gargoyle), the unauthorized pictorial representation of that element
may be an infringement of the pictorial, graphic or sculptural work (not of the
work of architecture)”).

Cc. The legislative history compels this interpretation.

That Congress did not intend to alter the protectability of PGS works
attached to buildings is confirmed by other express language in the legislative
history of the AWCPA. Indeed, the House Report states quite directly that
separately protectable PGS works may be “permanently embodied” in architectural
works:

“The Subcommittee was aware that certain works of authorship which may
separately qualify for protection as pictorial, graphic, or sculptural works

may be permanently embodied in architectural works. Stained glass
windows are one such example.” H.R. Rep. 101-735, p. 19, fn. 41.

Of such works, the Report makes clear that as long as the architect and artist are
different people, each can recover for copyright infringement. Id., at p. 20, fn. 41.

d. Accordingly, the AWCPA cannot provide MBZ with a
defense.

MBZ’s unauthorized use of the Artists’ Mural is not immunized by the
AWCPA. The Mural is indisputably a straightforward pictorial work that would be

registrable separate from the building. The Mural plays no role in the function or

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architecture of the building, and is purely ornamental. Indeed, MBZ’s allegations
about the “functional reasons” behind the Mural’s creation—improving the visual
appearance of its surroundings and attracting viewers [Complaint {| 5]—could

apply to nearly all PGS works.

V. CONCLUSION

For the foregoing reasons, MBZ’s Complaint should be dismissed against

the Artists for lack of personal jurisdiction and because the Complaint fails to state

a claim.

DATED: April 24, 2019
By: /s/ Norman L. Lippitt

 

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Certificate of Service
I certify that on April 24, 2019, I electronically filed the foregoing paper with the
Clerk of the Court using the EFC system which sends notification of such filing to

all counsel of record.

/s/ Lisa Kwiecinski

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